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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


                                          x
DAVID A. FORD, Individually and on Behalf :   Civil Action No.
of All Others Similarly Situated,         :
                                          :   CLASS ACTION
                              Plaintiff,  :
                                          :   COMPLAINT FOR VIOLATIONS OF THE
        vs.                               :   FEDERAL SECURITIES LAWS
                                          :
PROSHARES TRUST II, PROSHARE              :
CAPITAL MANAGEMENT LLC, TODD B. :
JOHNSON, EDWARD KARPOWICZ,                :
MICHAEL L. SAPIR, LOUIS M. MAYBERG, :
ABN AMRO CLEARING CHICAGO LLC, :
BANCA IMI SECURITIES CORP.,               :
BARCLAYS CAPITAL INC., BNP PARIBAS :
SECURITIES CORP., CREDIT SUISSE           :
SECURITIES (USA) LLC, DEUTSCHE            :
BANK SECURITIES INC., GOLDMAN,            :
SACHS & CO., HRT FINANCIAL LLC,           :
JEFFERIES LLC, J.P. MORGAN                :
SECURITIES LLC, KNIGHT EXECUTION :
& CLEARING SERVICES, LLC, MERRILL :
LYNCH PROFESSIONAL CLEARING               :
CORP., MIZUHO SECURITIES USA LLC., :
NEWEDGE USA LLC, NOMURA                   :
SECURITIES INTERNATIONAL, INC., RBC :
CAPITAL MARKETS, LLC, SG AMERICAS :
SECURITIES, LLC, TIMBER HILL, LLC,        :
UBS SECURITIES LLC, VIRTU                 :
FINANCIAL BD LLC and WEDBUSH              :
SECURITIES, INC.,                         :
                                          :
                              Defendants.
                                          :
                                          x   DEMAND FOR JURY TRIAL
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        Plaintiff David A. Ford (“plaintiff”), individually and on behalf of all others similarly

situated, by plaintiff’s undersigned attorneys, for plaintiff’s complaint against defendants, alleges the

following based upon personal knowledge as to plaintiff and plaintiff’s own acts and upon

information and belief as to all other matters based on the investigation conducted by and through

plaintiff’s attorneys, which included, among other things, a review of U.S. Securities and Exchange

Commission (“SEC”) filings of ProShares Trust II (“ProShares” or the “Trust”), the Trust’s press

releases, and analyst reports, media reports and other publicly disclosed reports and information

about the Trust. Plaintiff believes that substantial additional evidentiary support will exist for the

allegations set forth herein after a reasonable opportunity for discovery.

                                    NATURE OF THE ACTION

        1.       This is a securities class action on behalf of all persons or entities who purchased

shares of ProShares Short VIX Short-Term Futures ETF (“SVXY” or the “Fund”) pursuant to the

May 15, 2017 registration statement (as amended, “Registration Statement”), seeking to pursue

remedies under the Securities Act of 1933 (the “1933 Act”), and/or during the period from May 15,

2017 to February 5, 2018, inclusive (“Class Period”), seeking to pursue remedies under the

Securities Exchange Act of 1934 (the “1934 Act”).

                                   JURISDICTION AND VENUE

        2.       The claims alleged herein arise under §§11 and 15 of the 1933 Act, 15 U.S.C. §§77k

and 77o, and §§10(b) and 20(a) of the 1934 Act, 15 U.S.C. §§78j(b) and 78t(a), and Rule 10b-5, 17

C.F.R. §240.10b-5, promulgated thereunder by the SEC.

        3.       This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C.

§1331, §22 of the 1933 Act, and §27 of the 1934 Act.

        4.       Venue is proper in this District pursuant to §22 of the 1933 Act, §27 of the 1934 Act,

and 28 U.S.C. §1391(b). SVXY shares trade and were distributed in this District, and many of the
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acts charged herein, including the preparation and dissemination of materially false and misleading

information, occurred in substantial part in this District.

       5.       In connection with the acts alleged in this complaint, defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not limited to,

the mails, interstate telephone communications and the facilities of the NYSE Arca Equities, Inc.

(“NYSE”), a national securities exchange.

                                             PARTIES

       6.       Plaintiff David A. Ford purchased SVXY shares pursuant to the Registration

Statement, as set forth in the accompanying certification incorporated herein by reference, and has

been damaged thereby.

       7.       Defendant ProShares Trust II (the “Trust”) is the registrant for the Fund and issuer of

SVXY shares.

       8.       Defendant ProShare Capital Management LLC (the “Sponsor”) is the sponsor and

commodity pool operator for the Fund.

       9.       Defendant Todd B. Johnson is the Principal Executive Officer of the Trust.

       10.      Defendant Edward Karpowicz is the Principal Accounting Officer of the Trust.

       11.      Defendant Michael L. Sapir is the Chief Executive Officer (“CEO”) and a principal

and director of the Sponsor.

       12.      Defendant Louis M. Mayberg is a principal and director of the Sponsor.

       13.      The defendants identified in ¶¶9-12 are referred to herein as the “Individual

Defendants.” Each of the Individual Defendants signed the Registration Statement. In addition, as

directors and/or executive officers of the Trust and/or the Sponsor, the Individual Defendants

participated in the solicitation and sale of SVXY shares to investors in the Fund for their own benefit

and the benefit of the Sponsor.
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        14.     The Individual Defendants, the Sponsor and the Trust and are referred to herein as the

“ProShares Defendants.”

        15.     Defendants ABN AMRO Clearing Chicago LLC, Banca IMI Securities Corp.,

Barclays Capital Inc., BNP Paribas Securities Corp., Credit Suisse Securities (USA) LLC, Deutsche

Bank Securities Inc., Goldman, Sachs & Co., HRT Financial LLC, Jefferies LLC, J.P. Morgan

Securities LLC, Knight Execution & Clearing Services, LLC, Merrill Lynch Professional Clearing

Corp., Mizuho Securities USA LLC, Newedge USA LLC, Nomura Securities International, Inc.,

RBC Capital Markets, LLC, SG Americas Securities, LLC, Timber Hill, LLC, UBS Securities LLC,

Virtu Financial BD LLC and Wedbush Securities, Inc. (collectively referred to as the “Underwriter

Defendants”) served as underwriters for the offer and sale of SVXY shares during the Class Period.

Each of the Underwriter Defendants has executed an Authorized Participant Agreement with the

Trust and Sponsor for the sale of SVXY shares to the public, and the Underwriter Defendants

received fees, commissions and/or profits from these sales. The Underwriter Defendants’ failure to

conduct an adequate due diligence investigation was a substantial factor leading to the harm

complained of herein.

                               CLASS ACTION ALLEGATIONS

        16.     Plaintiff brings this action as a class action on behalf of all persons or entities who

purchased SVXY shares pursuant to the Registration Statement and/or during the Class Period (the

“Class”). Excluded from the Class are defendants and their families, the officers, directors and

affiliates of the defendants, at all relevant times, and members of their immediate families, and their

legal representatives, heirs, successors or assigns and any entity in which defendants have or had a

controlling interest.

        17.     The members of the Class are so numerous that joinder of all members is

impracticable. Fund shares are actively traded on the NYSE under the ticker symbol “SVXY” and
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millions of shares were sold throughout the Class Period. While the exact number of Class members

is unknown to plaintiff at this time and can only be ascertained through appropriate discovery,

plaintiff believes that there are hundreds of members in the proposed Class. Record owners and

other members of the Class may be identified from records maintained by the Trust or its transfer

agent and may be notified of the pendency of this action by mail, using the form of notice similar to

that customarily used in securities class actions, including being given an opportunity to exclude

themselves from the Class.

       18.     Plaintiff’s claims are typical of the claims of the members of the Class, as all

members of the Class are similarly affected by defendants’ wrongful conduct in violation of federal

law that is complained of herein.

       19.     Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation.

       20.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

               (a)     whether defendants violated the 1933 Act and/or the 1934 Act;

               (b)     whether statements made by defendants to the investing public in the

Registration Statement and during the Class Period about the business, operations and risks of

investing in the Fund were false and misleading; and

               (c)     to what extent the members of the Class have sustained damages and the

proper measure of damages.

       21.     A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the


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damages suffered by individual Class members may be relatively small, the expense and burden of

individual litigation make it impossible for members of the Class to individually redress the wrongs

done to them. There will be no difficulty in the management of this action as a class action.

              SUBSTANTIVE ALLEGATIONS COMMON TO ALL CLAIMS

Background to the Fund

       22.     The Trust is a Delaware statutory trust organized into separate series of exchange-

traded funds, or “ETFs.” ETFs are investment funds that bundle together securities to offer investors

the ability to invest in diversified portfolios, much like mutual funds. However, while mutual funds

trade only at the end of day net asset value (“NAV”) price, ETF shares trade on stock exchanges

throughout the trading day, like stocks. An ETF holds assets such as stocks, commodities, or bonds,

and they are usually designed to keep their market price close to their NAV per share. Most ETFs

track an index, such as a stock index or bond index. Inverse ETFs seek to deliver the opposite of the

performance of the index or benchmark they track.

       23.     The CBOE Volatility Index, or “VIX,” seeks to measure the expected volatility of the

S&P 500. Volatility is the range of price change a security experiences over a given period of time.

If the price remains relatively stable, the security has low volatility. If its price fluctuates, the

security has greater volatility. Because the VIX measures expected market swings and uncertainty,

it is sometimes referred to as the market “fear gauge.” Cboe Global Markets, Inc. (“CBOE”)

calculates the VIX pursuant to a complicated formula that takes as inputs the market prices of call

and put options on the S&P 500 index with an average expiration of 30 days.

       24.     The Fund is benchmarked to the S&P 500 VIX Short-Term Futures Index (the

“Index”), an investable index of VIX futures contracts with the ticker symbol “SPVXSPID.”

Specifically, the VIX futures contracts comprising the Index represent the prices of two near-term

VIX futures contracts, replicating a position that rolls the nearest month VIX futures to the next
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month VIX futures on a daily basis in equal fractional amounts. This results in a constant weighted

average portfolio maturity of one month.

       25.     The investment objective for the Fund during the Class Period was to achieve results

for a single day that matched (before fees and expenses) the inverse (-1x) of the daily performance of

the Index. For example, if the Index decreased 5% on a given day due to low market volatility, the

investment objective of the Fund was to increase 5% that same day. This would be accomplished by

the buying and selling of VIX future contracts during the trading day. As of the NAV calculation

time each trading day (typically 4:15 pm ET), the Fund Sponsor would seek to ensure that the

portfolio of VIX future contracts owned by the Fund was rebalanced to maintain the appropriate -1x

leverage consistent with the Fund’s investment objective.

       26.     Investors cannot invest directly in the VIX, but instead must invest in securities such

as the SVXY tied to the VIX. Investing in such volatility-related products can be used as a means to

hedge investment risks and diversify an investment portfolio. For example, the Registration

Statement described the SVXY (which the Registration Statement labeled a “geared fund” due to the

Fund’s inverse leverage) as follows:

       Daily objective geared funds, if used properly and in conjunction with the investor’s
       view on the future direction and volatility of the markets, can be useful tools for
       investors who want to manage their exposure to various markets and market
       segments and who are willing to monitor and/or periodically rebalance their
       portfolios.

       27.     Throughout the Class Period, the Trust continuously offered and redeemed shares of

the Fund in blocks of 50,000 shares, dubbed “Creation Units.” Creation Units were distributed to the

investing public by the Trust and Sponsor through the Underwriter Defendants. The Underwriter

Defendants received Creation Units at the Fund’s NAV and then offered the shares from these

Creation Units to the investing public at a per-share market price. The Underwriter Defendants

received profits from the spread between the NAV at which they received Fund shares from the
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Trust and the market price at which the shares were sold to the investing public. For example, if the

SVXY was trading at a premium to NAV, the Underwriter Defendants would request additional

Creation Units from the Trust at the lower NAV and sell shares from these Creation Units to

investors at the higher market price. If the SVXY was trading at a discount to NAV, the Underwriter

Defendants would purchase shares at the lower market price in order to redeem Creation Units

derived from these shares from the Trust at the higher NAV. In addition, the Underwriter

Defendants received certain brokerage fees and commissions from the sale of SVXY shares to

investors.

The Fund Is Subject to Extreme Undisclosed Risks

       28.       Throughout the Class Period, the Fund was subject to extreme risks that were not

adequately disclosed to investors. While defendants told investors in the Fund that the SVXY was

appropriate for managing daily trading risks, in fact the Fund was inappropriate for this purpose as it

was subject to a high likelihood of catastrophic losses in a matter of minutes. No reasonable

investor would have invested in the SVXY at prevailing market prices had the true risks and

significant likelihood of catastrophic losses been disclosed by defendants. During the Class Period,

an investment in SVXY was like picking up pennies in front of the proverbial steamroller.

Historically low volatility, a short-volatility market imbalance and a glut of inverse exchange-traded

volatility products (including the SVXY) subject to daily rebalancing made the SVXY a ticking time

bomb that was set to self-destruct on significant market turbulence. While these risks manifested

and increased during the Class Period, defendants failed to appropriately update the Fund’s risk

disclosures, misleading investors into believing that the Fund was just as risky as it had always been

even as conditions had significantly changed and thereby exposed investors to a substantial

likelihood of suffering catastrophic losses.


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       29.     Beginning in early 2017, markets entered a period of historically low volatility. By

May 2017, the VIX had closed below 10, less than half its historical average of approximately 20.

Over the course of 2017, volatility remained abnormally low. According to analysis performed by

the investment bank Goldman Sachs, the S&P 500 had a realized volatility score of 7 during 2017,

which “‘ranked in the first percentile since 1930.’” Of the 56 lowest closing levels in the history of

the VIX since 1990, 47 of them occurred in 2017. The following charts illustrate the sharp decline

in the level of the VIX during 2017 on daily and annualized bases, respectively:




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       30.     As with the VIX, the Index to which the Fund was benchmarked also declined during

2017 and remained at historically low levels throughout the year. The following chart illustrates the

abnormally low level of the Index during 2017:




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       31.     The historically low market volatility during the Class Period meant that even a

relatively modest increase in the absolute value of the Index could cause the Index to increase

significantly on a percentage basis. This, in turn, would cause a proportional decrease in the value of

SVXY shares.

       32.     At the same time, investments in exchange-traded products, or “ETPs,” and other

financial instruments used to trade volatility dramatically increased. Hundreds of millions of

dollars’ worth of invested capital flowed into VIX-related ETPs by the start of the Class Period, as

the number of ETPs tied to volatility increased to nearly 40 such products. SVXY was among the

largest. By May 31, 2017, aggregate gross capital subscriptions in the Fund had increased to $7.9

billion, from $5.1 billion as of July 31, 2016. This massive inflow into the Fund continued

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throughout the Class Period. From December 31, 2016, to December 31, 2017, total Fund assets

increased 257%, from $228.6 million to $816.3 million.

        33.     As a consequence of this growth in volatility trading, the markets for VIX futures

contracts, S&P 500 Index (“SPX”) options, and other volatility-related financial products, such as

variance swaps, ballooned. ETP portfolio managers such as the Sponsor and other consumers of

volatility-related financial instruments used these products to maintain portfolio leverage and

maturity consistent with volatility investment objectives, hedge risks and place directional bets on

volatility. In addition, many of the ETPs were leveraged, with investment objectives that sought to

achieve some multiple of the underlying volatility index (generally 2x). Like inverse ETPs, ETPs

with leveraged multiples require daily rebalancing, which ordinarily involves the buying and selling

of VIX future contracts at the end of the trading day.

        34.     The proliferation of volatility-related products that relied on dynamic trading in the

same VIX futures and SPX option markets – in particular inverse and leveraged ETPs – created an

acute liquidity risk that ensured the Fund would not perform as advertised in the face of significant

market turbulence. At the end of every trading day, inverse and leveraged ETPs needed to purchase

VIX futures in order to rebalance their respective portfolios and maintain the appropriate leverage

ratios. Given the billions of dollars that had been invested in such ETPs prior to and during the

Class Period (in addition to the billions of dollars invested in similar strategies outside of ETPs), any

significant movement in the SPX would cause on outsized movement in VIX future contracts as

market participants rushed to cover short positions, hedge risks and rebalance investment portfolios

in overly crowded volatility markets. There were simply not enough VIX futures contracts available

from liquidity providers to absorb such an event without a run on the market.




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       35.     Particularly at risk of catastrophic losses were inverse ETPs such as the SVXY.

Overall investment in VIX futures during the Class Period was net short, as investors piled billions

of dollars into bets on low volatility. As a result, the Fund faced heightened demand in the products

it needed to purchase as part of its daily rebalancing. Furthermore, the Fund rebalanced its portfolio

at the end of each trading day and around the same time as other ETPs. This meant that the SVXY

would generally be purchasing VIX future contracts at times when demand was highest. In addition,

the Fund was subject to the risk of front-running by sophisticated market participants with access to

proprietary market data and non-public modelling capabilities who had visibility into the Fund’s

rebalancing needs based on market movements during the trading day.

       36.     As would later be revealed, these massive and undisclosed risks threatened the Fund’s

very viability. All of these factors set the stage for the Fund to suffer a self-destructive feedback

loop if faced with market turbulence: if volatility significantly increased, market participants

(including the Fund) would rush to transact in volatility-related products, which would drive up

volatility, thereby driving up the price of VIX future contracts, thereby decreasing the Fund’s NAV,

thereby necessitating that the Fund buy even more VIX future contracts at higher prices as part of its

daily rebalancing (along with other VIX ETPs), which would drive up volatility, and so on until the

Fund collapsed or suffered catastrophic losses. The exponential growth of the SVXY before and

during the Class Period increased these concerns and the likelihood that the Fund would suffer

enormous losses, even as defendants pocketed millions of dollars from the management of the Fund

and sale of Fund shares.

       37.     The complexity of the Fund concealed and magnified these risks, which were poorly

understood even by sophisticated traders. Many (if not most) of the investors in the SVXY were

retail investors who did not have access to non-public predictive models, sophisticated analytical


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tools, or the massive amounts of data (which included proprietary and non-public data) necessary to

comprehend the true risks of the Fund or how it would actually perform in stress scenarios.

Defendants – the creators, portfolio managers and distributors of the Fund – possessed unique

knowledge about the risks faced by the Fund throughout the Class Period, yet failed to apprise

investors about these risks. To the contrary, the Registration Statement stated that investors in the

Fund faced a risk of loss “[a]s with all investments.” However, the SVXY was not like all

investments. In light of the low volatility environment, design of the Fund, and the unique liquidity

risks faced by the Fund during the Class Period, investors in the Fund were subject to an extreme

risk of catastrophic loss. When the market faced significant turbulence – as it inevitably would – the

SVXY was essentially designed to self-destruct.

February 5, 2018: The “Volpocalypse”

       38.     On Monday, February 5, 2018, the stock market declined, with the SPX dropping 4%

amid concerns about rising bond yields and higher inflation. On a percentage basis, this decline was

less than half the greatest single-day decline in the SPX over the last 30 years (a 9% decline that

occurred on October 15, 2008) and a fraction of the 20% decline in the SPX that occurred on

October 19, 1987. While bid/ask spreads for SPX options widened during the sharpest portions of

the equity market decline, trading was orderly, positions remained liquid, and there was not

widespread market disruption in SPX options.

       39.     However, the market turbulence triggered the latent self-destruct mechanism

concealed in the SVXY, as the crowded market for VIX future contracts spiraled out of control. The

VIX rocketed upward to a high of 38.80 during the day, from a close of 17.31 on Friday, February 2,

2018 – a 124% daily spike. Much of this increase occurred at the end of the trading day, as reflected

in the following chart:


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       40.    The Index experienced a similar surge, as the price of the VIX futures contracts on

which it was based jumped at the end of the trading day:




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       41.     The price of SVXY shares, which track the inverse of the Index, declined. By the

close of trading on February 5, 2018, the price of SVXY had dropped to $71.82 per share, from the

prior close of $105.60 per share, a 32% decline. However, the real carnage occurred in the

afterhours as the Sponsor and other ETP portfolio managers sought to rebalance ETP portfolios to

maintain appropriate leverage amounts in an illiquid VIX futures market. As the Sponsor and other

market participants purchased hundreds of millions of dollars’ worth of VIX futures contracts, prices

skyrocketed, initiating the aforementioned death spiral and eviscerating the value of SVXY shares.

       42.     The following chart illustrates the dramatic rise in the price of March VIX futures,

which occurred almost entirely after NYSE market close at 4:00 pm ET:



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       43.    This upsurge in the price of VIX future contracts created a price dislocation due to the

rebalancing of the SVXY and the portfolios of other inverse and leveraged volatility ETPs. This

dislocation occurred between 4:00 pm and 4:15 pm ET, concurrent with the rebalancing of the

Fund’s and other ETP’s portfolios, as demonstrated by the following chart:




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       44.     By market open on February 6, 2018, the price of SVXY shares had plummeted to a

low of $11.11, a one-day decline of 90% from the prior day’s high of $107.19 per share. The SVXY

essentially became the engine of its own demise, as investors suffered massive losses not primarily

due to volatility in equity markets, but due to the Fund’s own flawed design and its price insensitive



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participation in – and catalyst for – an illiquid VIX futures market. The following chart illustrates

the dramatic decline in the price of SVXY:




       45.     Investor losses were staggering. In a matter of minutes, billions of dollars invested in

inverse and leveraged ETPs – including hundreds of millions of dollars’ worth of SVXY investments

– evaporated in one of the greatest wealth-destruction events since the 2008 financial crisis. Media

commentators described the shocking and complete collapse of the SVXY and similar products in

suitably cataclysmic terms such as “Armageddon” and the “Volpocalypse.” Others noted that

investors had been “blindsided” as latent risks in the SVXY and other inverse and leveraged ETPs

materialized, exposing fatal design flaws that made the products far riskier than disclosed by

defendants.

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       46.     As a consequence of the market wreckage, trading in the SVXY was temporarily

halted by market regulators. Several inverse ETPs wound down in the days that followed, with one

issuer, Nomura Holdings Inc., stating that it “‘sincerely apologize[d] for causing significant

difficulties to investors.’” The Sponsor was far less contrite, issuing a curt statement that

nonetheless recognized that the extreme risks exposed on Monday, February 5, 2018 had existed in

the Fund all along – indeed existed by design – and were not the result of some aberrant market

event. According to the Sponsor, “‘the performance on Monday of the ProShares Short VIX Short-

Term Futures ETF (SVXY) was consistent with its objective and reflected the changes in the level of

its underlying index.’”

       47.     Soon after its belated acknowledgement of the Fund’s true risks, the Sponsor abruptly

changed the Fund’s investment objective. This act essentially acknowledged that the design of the

Fund was fundamentally flawed and had exposed investors to unreasonable risks during the Class

Period. Despite the fact that market liquidity risks had been dramatically reduced by the events of

February 5, 2018 (for example, due to the destruction of billions of dollars’ of worth of VIX ETP

investments), the Sponsor cut the Fund’s inverse leverage in half because it was still far too risky to

be traded by the Fund’s investors.

       48.     On February 27, 2018, the Sponsor announced that the SVXY’s new investment

objective would be to seek results (before fees and expenses) that correspond to one-half the inverse

(-0.5x) of the Index for a single day. In a statement filed with the SEC, the Sponsor described the

change as follows:

                The Sponsor believes the change to each Fund’s investment objective . . . is
       appropriate and consistent with the best interest of each Fund and Fund shareholders
       in light of recent extreme changes in the value of the . . . Index. As a result of the
       change to each Fund’s investment objective, the Sponsor expects the risk profile and
       volatility of each Fund to be significantly reduced.


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       49.     This belated de-risking of the SVXY in “the best interest” of Fund shareholders came

only after Bloomberg reported that both the SEC and the CFTC were investigating whether

wrongdoing contributed to steep losses for VIX ETPs on February 5, 2018. Later, FINRA launched

its own investigation into whether broker dealers, a category that includes the Underwriter

Defendants, made unsuitable recommendations and misrepresentations or failed to make required

disclosures to investors in VIX-related ETPs such as the Fund. While the Sponsor may now seek to

mitigate regulatory scrutiny, its failure to fully disclose the true risks of the Fund during the Class

Period has caused SVXY investors to suffer hundreds of millions’ of dollars in economic losses and

damages under the federal securities laws.

                                   1933 ACT ALLEGATIONS

                       FALSE AND MISLEADING STATEMENTS IN
                          THE REGISTRATION STATEMENT

       50.     On May 15, 2017, the Trust filed the Registration Statement on Form S-3, as

amended, which was incorporated into and formed part of the July 13, 2017 Prospectus filed on

Form 424B3 (the “Registration Statement”).

       51.     The Registration Statement was negligently prepared and as a result contained untrue

statements of material fact, omitted to state other facts necessary to make the statements made not

misleading, and was not prepared in accordance with the rules and regulations governing its

preparation.

       52.     Specifically, the Registration Statement failed to disclose that the Fund was certain to

suffer catastrophic losses when faced with significant market turbulence as a result of the Fund’s

flawed design and the low-volatility environment and acute liquidity risks that existed during the

Class Period. Instead, the Registration Statement stated that the Fund, “if used properly and in

conjunction with the investor’s view on the future direction and volatility of the markets, can be [a]

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useful tool[] for investors who want to manage their exposure to various markets and market

segments and who are willing to monitor and/or periodically rebalance their portfolios.” This

statement was materially false and misleading because even investors who used the Fund to express

a correct view on volatility and monitored and rebalanced their portfolios regularly suffered

catastrophic losses that dwarfed any potential returns or risk management utility. The Fund lost

essentially its entire returns over the preceding six-and-a-half years in a matter of minutes. In

addition, investors who purchased SVXY shares at the end of the trading day on February 5, 2018

would have been correct that volatility would subsequently recede, yet nevertheless lost almost the

entirety of their investment in aftermarket trading.

       53.     Similarly, the Registration Statement provided the investment objective of the Fund

and stated that the Sponsor would achieve this objective “through the appropriate amount of

exposure to the VIX futures contracts included in the Index,” but failed to disclose the fact that the

Fund’s price-insensitive investment in these VIX future contracts in order to achieve its objective

ensured that the Fund would self-destruct when faced with significant market turbulence. The

Registration Statement stated in pertinent part:

       The Inverse Fund seeks results (before fees and expenses) that correspond to the
       inverse (-1x) of the performance of the Index for a single day. . . .

              The Funds seek to achieve their respective investment objectives through
       the appropriate amount of exposure to the VIX futures contracts included in the
       Index.

                                          *        *      *

               The Sponsor does not invest the assets of the Funds based on its view of the
       investment merit of a particular investment, other than for cash management
       purposes, nor does it conduct conventional volatility research or analysis, or forecast
       market movement or trends in managing the assets of the Funds. Each Fund
       generally seeks to remain fully invested at all times in Financial Instruments and
       money market instruments that, in combination, provide exposure to the Index
       consistent with its investment objective without regard to market conditions, trends
       or direction.
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       54.     In addition, while the Registration Statement stated that an investment in the Fund

involved “risks” and that an investor “could potentially lose the full principal value of his/her

investment, even over periods as short as one day,” the Registration Statement significantly qualified

these statements by stating that these risks were “[a]s with all investments.” This statement was

materially false and misleading because an investment in the Fund was exposed to risks that far

exceeded those of most other investments, including a high likelihood that the Fund would collapse

in a matter of minutes if faced with significant market turbulence. This was especially true as

compared to other investments sold to the general investing public, rather than those only offered for

sale to sophisticated institutional investors with the extensive resources, proprietary data access and

analytical capabilities necessary to perform independent due diligence of the extraordinarily complex

and interrelated volatility markets that impacted the value of the Fund.

       55.     The Registration Statement also included numerous contra-indicators that suggested

that the Fund was far less risky than it in fact was. For example, the Registration Statement provided

an analysis of various potential returns over the course of one year in a variety of market scenarios.

The worst-case scenario provided in a chart illustrating potential Fund returns in the Registration

Statement was the loss of 61.7% of Fund value over the course of one year. As would later be

revealed, the actual worst-case scenario in light of the true risks facing the Fund was the near-

complete loss of Fund value in a matter of minutes. The following table reflecting the Fund’s

purported returns analysis, which failed to accurately convey the true risks of the Fund, was provided

in the Registration Statement:




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       56.     The Registration Statement provided various generic statements of potential or

contingent risk, yet failed to disclose that these and other risks had already materialized during the

Class Period such that the Fund was certain to experience catastrophic losses in the event of an

uptick in market turbulence. For example, the Registration Statement stated that the Fund and other

funds in its ETF family “present many different risks than other types of funds, including risks

relating to investing in VIX futures and, with respect to the Geared Funds, risks associated with the

use of leverage,” and that these “investments can be highly volatile and the Funds may experience

large losses from buying, selling or holding such investments.” Similarly, the Registration

Statement stated that the “Geared Funds may be subject to increased trading costs associated with

daily portfolio rebalancings in order to maintain appropriate exposure to the Index” and that

“[m]arket illiquidity may cause losses for the Funds.” The Registration Statement failed to disclose

that the Fund already faced liquidity constraints, a heightened likelihood of catastrophic losses due

to the low volatility environment, and a crowded VIX futures contract market poised to exacerbate

investor losses in the event of a market downturn, rendering the discussions of contingent and

potential future harm that “may” occur as provided in the Registration Statement themselves

materially misleading.



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       57.      Furthermore, the types of generic risk disclosures provided in the Registration

Statement were only those categories of risks that had always existed in the Fund and other similar

ETPs. Nowhere did the Registration Statement disclose that these and other risks had dramatically

increased and metastasized before and during the Class Period, and that, in light of the Fund’s

flawed design, the historically low volatility environment, the proliferation of volatility trading and

inverse and leveraged ETPs, and the market’s short volatility bias ensured that investors would

suffer catastrophic losses in the event of significant market turbulence. The failure of the

Registration Statement to disclose the concrete and specific risks that existed for investors in the

Fund during the Class Period created the misleading impression that the Fund had not encountered

substantial new risks that threatened investors in the Fund as compared to prior periods.

       58.     Moreover, Item 303 of SEC Regulation S-K, 17 C.F.R. §229.303(a)(3)(ii) (“Item

303”), requires defendants to “[d]escribe any known trends or uncertainties that have had or that the

registrant reasonably expects will have a material favorable or unfavorable impact on net sales or

revenues or income from continuing operations.” Similarly, Item 503 of SEC Regulation S-K, 17

C.F.R. §229.503(c) (“Item 503”), requires, in the “Risk Factors” section of registration statements

and prospectuses, “a discussion of the most significant factors that make the offering speculative or

risky” and requires each risk factor to “adequately describe[] the risk.” The failure of the

Registration Statement to disclose that the historically low volatility environment and liquidity risks

faced by the Fund ensured that investors would face catastrophic losses in a turbulent market

environment violated 17 C.F.R. §229.303(a)(3)(ii), because these undisclosed risks were known to

the Fund and would (and did) have an unfavorable impact on the Trust’s revenues and income from

continuing operations. This failure also violated 17 C.F.R. §229.503(c), because these specific risks




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were not adequately disclosed, or disclosed at all, even though they were some of the most

significant factors that made an investment in SVXY shares speculative or risky.

                                             COUNT I

                              For Violations of §11 of the 1933 Act
                                    Against All Defendants

       59.     Plaintiff repeats and realleges ¶¶1-58 by reference.

       60.     This Count is brought pursuant to §11 of the 1933 Act, 15 U.S.C. §77k, on behalf of

the Class, against all defendants.

       61.     This Count does not sound in fraud. Plaintiff does not allege that the ProShares

Defendants or the Underwriter Defendants had scienter or fraudulent intent, which are not elements

of a §11 claim.

       62.     The Registration Statement was inaccurate and misleading, contained untrue

statements of material fact, omitted to state other facts necessary to make the statements made not

misleading, and omitted to state material facts required to be stated therein.

       63.     The defendants named herein were responsible for the contents and dissemination of

the Registration Statement.

       64.     The Trust is the registrant for the SVXY shares sold during the Class Period. As the

issuer of the shares, the Trust is strictly liable to plaintiff and the Class for the misstatements and

omissions.

       65.     None of the defendants named herein made a reasonable investigation or possessed

reasonable grounds for the belief that the statements contained in the Registration Statement were

true and without omissions of any material facts and were not misleading.

       66.     By reason of the conduct alleged herein, each defendant violated, and/or controlled a

person who violated, §11 of the 1933 Act.

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       67.     Plaintiff purchased SVXY shares pursuant to the Registration Statement.

       68.     Plaintiff and the Class have sustained damages. The value of SVXY shares has

declined substantially subsequent to and due to defendants’ violations.

       69.     At the time of their purchases of Fund shares, plaintiff and other members of the

Class were without knowledge of the facts concerning the wrongful conduct alleged herein. Less

than one year has elapsed from the time that plaintiff discovered or reasonably could have

discovered the facts upon which this complaint is based to the time that plaintiff filed this complaint.

Less than three years has elapsed between the time that the securities upon which this Count is

brought were offered to the public and the time plaintiff filed this complaint.

                                             COUNT II

                               For Violation of §15 of the 1933 Act
                               Against the ProShares Defendants

       70.     Plaintiff repeats and realleges ¶¶1-69 by reference.

       71.     This Count is brought pursuant to §15 of the 1933 Act against the Trust, the Sponsor

and the Individual Defendants.

       72.     The Individual Defendants were each control persons of the Trust by virtue of their

positions as directors, senior officers and/or principals of the Trust or the Sponsor. The Individual

Defendants each had a series of direct and/or indirect business and/or personal relationships with

other directors and/or officers and/or major shareholders of the Trust. The Individual Defendants

signed the Registration Statement and were responsible for its contents. The Sponsor controlled the

Trust as its commodity pool operator and fund manager. The Trust and the Sponsor also controlled

the Individual Defendants and all of their employees.

       73.     The defendants named herein each were culpable participants in the violations of §11

of the 1933 Act alleged in the Count above, based on their having signed or authorized the signing of

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the Registration Statement, selling SVXY shares and/or having otherwise participated in the process

that allowed the offer and sale of SVXY to investors be successfully completed.

                                   1934 ACT ALLEGATIONS

                         FALSE AND MISLEADING STATEMENTS
                             DURING THE CLASS PERIOD

       74.     The Class Period begins on May 15, 2017. On that date, defendants filed the

Registration Statement. For the reasons alleged in ¶¶52-58, the Registration Statement contained

untrue statements of material fact, omitted to state other facts necessary to make the statements made

not misleading, and was not prepared in accordance with the rules and regulations governing its

preparation.

       75.     The ProShares Defendants continued to make materially false and misleading

statements to investors in the Fund throughout the Class Period. Specifically, the ProShares

Defendants filed numerous financial reports and draft prospectuses and/or registration statements

with the SEC during the Class Period that contained many of the same misstatements and failures to

disclose as the Registration Statement. These filings included:

               (a)     a quarterly report on Form 10-Q for the Trust for the period ended June 30,

2017, filed on August 9, 2017;

               (b)     a quarterly report on Form 10-Q for the Trust for the period ended September

30, 2017, filed on November 9, 2017; and

               (c)     a registration statement on Form S-3 for the sale of additional shares of SVXY

filed on September 28, 2017 and amended on February 1, 2018.

       76.     These documents (together with the Registration Statement, the “Class Period

Filings”) contained materially false and misleading statements substantially the same as those

contained in the Registration Statement, which misrepresented the true risks of the Fund and falsely

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represented to investors that an investment in the Fund was an appropriate means for managing

trading risks. Specifically, the Class Period Filings failed to disclose that the Fund was certain to

suffer catastrophic losses when faced with significant market turbulence as a result of the Fund’s

flawed design and the low-volatility environment and acute liquidity risks that existed during the

Class Period. To the contrary, the Class Period Filings stated that, “if used properly and in

conjunction with the investor’s view on the future direction and volatility of the markets,” the Fund

“can be [a] useful tool[] for investors who want to manage their exposure to various markets and

market segments and who are willing to monitor and/or periodically rebalance their portfolios.”

Similarly, the Class Period Filings stated that the Sponsor would achieve the Fund’s investment

objective “through the appropriate amount of exposure to the VIX futures contracts included in the

Index,” but failed to disclose the fact that the Fund’s price-insensitive investment in these VIX

futures contracts in order to achieve its objective ensured that the Fund would self-destruct when

faced with significant market turbulence.

        77.     The Class Period Filings also included numerous contra-indicators that suggested that

the Fund was far less risky than it in fact was, for example, providing an analysis of various potential

returns over the course of one year that suggested that the worst-case scenario for an investment in

Fund was the loss of 61.7% of value over the course of one year. Similarly, while the Class Period

Filings stated that an investment in the Fund involved “risks” and that an investor “could potentially

lose the full principal value of his/her investment, even over periods as short as one day” the Class

Period Filings misleadingly qualified these statements by stating that these risks were “[a]s with all

investments.”

        78.     Moreover, the Class Period Filings provided various generic statements of potential

or contingent risk, yet failed to disclose that these and other risks had already materialized during the


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Class Period such that the Fund was certain to experience catastrophic losses in the event of an

uptick in market turbulence. The Class Period Filings failed to disclose that the Fund already faced

liquidity constraints, a heightened likelihood of catastrophic losses due to the low volatility

environment, and a crowded VIX futures contract market poised to exacerbate investor losses in the

event of a market downturn, rendering the discussions of contingent and potential future harm that

“may” occur as provided in the Class Period Filings themselves materially misleading.

       79.      Furthermore, the types of generic risk disclosures provided in the Class Period

Filings were only those categories of risks that had always existed in the Fund and other similar

ETPs. Nowhere did the Class Period Filings disclose that these and other risks had dramatically

increased and metastasized before and during the Class Period, and that, in light of the Fund’s

flawed design, the historically low volatility environment, the proliferation of volatility trading and

inverse and leveraged ETPs, and the market’s short volatility bias ensured that investors would

suffer catastrophic losses in the event of significant market turbulence. The failure of the Class

Period Filings to disclose the concrete and specific risks that existed for investors in the Fund during

the Class Period created the misleading impression that the Fund had not encountered substantial

new risks that threatened investors in the Fund with the imminent catastrophic losses due to the then-

existing market dynamics that had emerged throughout the Class Period. Moreover, the Class

Period Filings’ failures to disclose the Fund’s true risks violated Item 303 and Item 503 because

these undisclosed risks were known to the Fund and would (and did) have an unfavorable impact on

the Trust’s revenues and income from continuing operations and involved some of the most

significant factors that made an investment in SVXY shares speculative or risky.

        80.     The ProShares Defendants knew, or at the very least were reckless in not knowing,

that the statements identified in ¶¶76-79 were materially false and misleading when made. The


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ProShares Defendants had created the Trust and the Fund, designed its investment objective,

assessed the risks and likely performance of the Fund, and were responsible for the daily

management of the Fund’s investments. As stated in the Registration Statement:

               In seeking to achieve the Funds’ investment objectives, the Sponsor uses a
       mathematical approach to investing. Using this approach, the Sponsor determines the
       type, quantity and mix of investment positions that the Sponsor believes, in
       combination, should produce daily returns consistent with the Funds’ objectives. The
       Sponsor relies upon a pre-determined model to generate orders that result in
       repositioning the Funds’ investments in accordance with their respective investment
       objective.

       81.     As a result of their role in creating and maintaining the Fund, dynamic investing of

Fund assets, continuous offering and redemption of Fund shares, and access to necessary

investments and market data (including data proprietary to the Fund), the ProShares Defendants

possessed unique knowledge about the specific and imminent risks facing the Fund during the Class

Period, including the undisclosed risks of catastrophic losses as alleged herein.

       82.     Moreover, the Individual Defendants made, or caused to be made, the false and

misleading statements that artificially inflated the price of SVXY shares, including by signing the

Class Period Filings. The Individual Defendants, because of their positions with the Trust,

possessed the power and authority to control the contents of the Trust’s quarterly reports, press

releases and presentations to securities analysts, money and portfolio managers and institutional

investors, i.e., the market. They were provided with copies of the Fund’s statements alleged herein

to be misleading prior to or shortly after their issuance and had the ability and opportunity to prevent

their issuance or cause them to be corrected. Because of their positions with the Trust and their

access to material non-public information available to them but not to the public, the Individual

Defendants knew that the adverse facts specified herein had not been disclosed to and were being

concealed from the public and that the positive representations being made were then materially

false and misleading.
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       83.     In addition, the ProShares Defendants had the motive and opportunity to commit

fraud and were highly incentivized to induce investors to commit assets to the Fund by concealing

the true risks of such investments. Specifically, the Sponsor received fees for its management of

Fund assets, paid monthly in arrears, in an amount equal to 0.95% per annum of the Fund’s average

daily net assets. Thus, the fees received by the Sponsor were directly related to the amount of assets

invested in the Fund. As a result, as the Fund grew substantially in size over the course of 2017, the

amount of management fees paid to the Sponsor from Fund assets increased by 60% year-over-year.

The Individual Defendants as principals of the Sponsor and/or employees of the Trust were similarly

highly incentivized to grow investments in the Fund during the Class Period.

       84.     The strategy of the ProShares Defendants to market and grow the Fund was a success.

The SVXY became one of the largest ETFs managed by the Sponsor, with over $1 billion in assets

under management near the end of the Class Period. If the ProShares Defendants had disclosed the

true risks of the Fund during the Class Period, the Sponsor would have received substantially less

fees from one of the largest and most lucrative ETFs offered by the Trust.

                         LOSS CAUSATION AND ECONOMIC LOSS

       85.     As detailed herein, defendants engaged in a scheme to deceive the market and a

course of conduct that artificially inflated the prices of SVXY shares and operated as a fraud or

deceit on purchasers of SVXY shares. As detailed above, when the truth about defendants’

misconduct was revealed, the value of SVXY shares declined precipitously as the prior artificial

inflation no longer propped up the Fund’s prices. The declines in the prices of SVXY shares were

the direct result of the nature and extent of defendants’ fraud finally being revealed to investors and

the market. The timing and magnitude of the share price declines negate any inference that the loss

suffered by plaintiff was caused by changed market conditions, macroeconomic or industry factors

or Fund-specific facts unrelated to the defendants’ fraudulent conduct. The economic loss, i.e.,
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damages, suffered by plaintiff, was a direct result of defendants’ fraudulent scheme to artificially

inflate the prices of SVXY shares and the subsequent significant decline in the value of the Fund’s

shares when defendants’ prior misrepresentations and other fraudulent conduct were revealed.

       86.     At all relevant times, defendants’ materially false and misleading statements or

omissions alleged herein directly or proximately caused the damages suffered by plaintiff. Those

statements were materially false and misleading through their failure to disclose a true and accurate

picture of the Fund’s business and operations, as alleged herein. Before and during the time of

plaintiff’s purchases of SVXY shares, defendants issued materially false and misleading statements

and omitted material facts necessary to make defendants’ statements not false or misleading, causing

the prices of SVXY shares to be artificially inflated. Plaintiff purchased SVXY shares at those

artificially inflated prices, causing them to suffer damages as complained of herein.

                     APPLICABILITY OF PRESUMPTION OF RELIANCE:
                          FRAUD-ON-THE-MARKET DOCTRINE

       87.     At all relevant times, the market for SVXY shares was an efficient market for the

following reasons, among others:

               (a)      SVXY shares met the requirements for listing, and were listed and actively

traded on the NYSE, a highly efficient and automated market;

               (b)      according to the Trust’s Form 10-K for its fiscal year 2017, filed on March 1,

2018, the Fund sold over 52.5 million SVXY shares in 2017 alone, demonstrating a very active and

broad market for SVXY shares;

               (c)      as a regulated issuer, the Trust filed periodic public reports with the SEC;

               (d)      the ProShares Defendants regularly communicated with public investors via

established market communication mechanisms, including the regular dissemination of press




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releases on national circuits of major newswire services, the Internet and other wide-ranging public

disclosures; and

               (e)     unexpected material news about the Fund was rapidly reflected in and

incorporated into the price of the Fund’s shares.

       88.     As a result of the foregoing, the market for SVXY shares promptly digested current

information regarding the Fund from publicly available sources and reflected such information in the

price of SVXY shares. Under these circumstances, a presumption of reliance applies to plaintiff’s

purchases of Fund shares.

       89.     A presumption of reliance is also appropriate in this action under the Supreme Court’s

holding in Affiliated Ute Citizens v. United States, 406 U.S. 128 (1972), because plaintiff’s claims

are based, in significant part, on defendants’ material omissions. Because this action involves

defendants’ failure to disclose material adverse information regarding the Fund’s business and

operations, positive proof of reliance is not a prerequisite to recovery. All that is necessary is that

the facts withheld be material in the sense that a reasonable investor might have considered them

important in making investment decisions.           Given the importance of defendants’ material

misstatements and omissions set forth above, that requirement is satisfied here.

                                       NO SAFE HARBOR

       90.     Defendants’ false or misleading statements alleged to be actionable herein were not

forward-looking statements (“FLS”), or were not identified as such by defendants, but rather, were

statements of historical and present fact, and thus did not fall within any “Safe Harbor.”

       91.     Defendants’ verbal “Safe Harbor” warnings accompanying any of their oral FLS

failed to provide meaningful cautionary statements regarding the specific facts and circumstances

facing the Fund, and thus were ineffective to shield those statements from liability.


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       92.     Defendants are also liable for any false or misleading FLS pleaded because, at the

time each FLS was made, the speaker knew the FLS was false or misleading and the FLS was

authorized and/or approved by an executive officer of the Trust or the Sponsor who knew that the

FLS was false. Further, none of the historic or present tense statements made by defendants were

assumptions underlying or relating to any plan, projection or statement of future economic

performance, as they were not stated to be such assumptions underlying or relating to any projection

or statement of future economic performance when made.

                                            COUNT III

                     For Violation of §10(b) of the 1934 Act and Rule 10b-5
                               Against the ProShares Defendants

       93.     Plaintiff incorporates the foregoing paragraphs by reference.

       94.     The Trust, the Sponsor and the Individual Defendants disseminated or approved the

false or misleading statements specified above, which they knew or recklessly disregarded were

misleading in that they contained misrepresentations and failed to disclose material facts necessary

in order to make the statements made, in light of the circumstances under which they were made, not

misleading.

       95.     These defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that they:

               (a)     Employed devices, schemes and artifices to defraud;

               (b)     Made untrue statements of material fact or omitted to state material facts

necessary in order to make the statements made, in light of the circumstances under which they were

made, not misleading; or

               (c)     Engaged in acts, practices and a course of business that operated as a fraud or

deceit upon plaintiff and Class members in connection with their purchases of SVXY shares.




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        96.     Plaintiff has suffered damages in that, in reliance on the integrity of the market,

plaintiff paid artificially inflated prices for SVXY shares. Plaintiff would not have purchased SVXY

shares at the price paid, or at all, if plaintiff had been aware that the market price had been artificially

and falsely inflated by defendants’ misleading statements.

        97.     As a direct and proximate result of defendants’ wrongful conduct, plaintiff and the

Class suffered damages in connection with their purchases of SVXY shares.

                                               COUNT IV

                               For Violation of §20(a) of the 1934 Act
                                 Against the ProShares Defendants

        98.     Plaintiff incorporates the foregoing paragraphs by reference.

        99.     The ProShares Defendants were control persons within the meaning of §20(a) of the

1934 Act.

        100.    By virtue of their high-level positions, and their ownership and contractual rights,

participation in and/or awareness of the Trust’s operations and/or intimate knowledge of the false

and misleading statements filed by the Trust with the SEC and disseminated to the investing public,

the Sponsor and the Individual Defendants had the power to influence and control and did influence

and control, directly or indirectly, the decision-making of the Trust, including the content and

dissemination of the various statements plaintiff contends are false and misleading. The Sponsor and

the Individual Defendants were provided with, or had, unlimited access to copies of the Trust’s

reports, press releases, public filings and other statements alleged by plaintiff to be misleading

before and/or shortly after these statements were issued and had the ability to prevent the issuance of

the statements or cause the statements to be corrected. The Trust and the Sponsor, meanwhile,

controlled the Individual Defendants and all of their employees.




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                                             PRAYER FOR RELIEF

          WHEREFORE, plaintiff prays for relief and judgment, as follows:

          A.        Determining that this action is a proper class action, designating plaintiff as Lead

Plaintiff and certifying plaintiff as class representative under Rule 23 of the Federal Rules of Civil

Procedure and plaintiff’s counsel as Lead Counsel;

          B.        Awarding plaintiff and the Class compensatory damages at an amount to be

determined at trial and pre-judgment and post-judgment interest thereon;

          C.        Awarding plaintiff’s reasonable costs and expenses, including attorneys’ fees; and

          D.        Awarding such other relief as the Court may deem just and proper.

                                               JURY DEMAND

          Plaintiff hereby demands a trial by jury.

DATED: January 29, 2019                             ROBBINS GELLER RUDMAN
                                                     & DOWD LLP
                                                    SAMUEL H. RUDMAN


                                                                  /s/ Samuel H. Rudman
                                                                 SAMUEL H. RUDMAN

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                                                    Attorneys for Plaintiff
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                   CERTIFICATION OF NAMED PLAINTIFF
                 PURSUANT TO FEDERAL SECURITIES LAWS

       DAVID A. FORD, on behalf of himself and the David A. Ford and Rachel
C. Ford Brokerage Account, David A. Ford and Carol J. Hinzman Brokerage
Account, David A. Ford, SEP IRA Brokerage Account, David A. Ford –Roth IRA
Brokerage Account and David A. Ford –Brokerage Account (“Plaintiff”) declares:
       1.     I am a beneficial owner of the accounts listed herein and have
authority to act on their behalf. Plaintiff has reviewed a complaint and authorized
its filing.
       2.     Plaintiff did not acquire the security that is the subject of this action at
the direction of plaintiff’s counsel or in order to participate in this private action or
any other litigation under the federal securities laws.
       3.     Plaintiff is willing to serve as a representative party on behalf of the
class, including providing testimony at deposition and trial, if necessary.
       4.     Plaintiff has made the following transaction(s) during the Class Period
in the securities that are the subject of this action:

Security               Transaction                Date               Price Per Share

                               See attached Schedule A.
       5.     Plaintiff has not sought to serve or served as a representative party in
a class action that was filed under the federal securities laws within the three-year
period prior to the date of this Certification except as detailed below:

                                          None.


       6.     Plaintiff will not accept any payment for serving as a representative
party on behalf of the class beyond the Plaintiff’s pro rata share of any recovery,


                                                                        PROSHARES SHORT VIX
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except such reasonable costs and expenses (including lost wages) directly relating
to the representation of the class as ordered or approved by the court.
      I declare under penalty of perjury that the foregoing is true and correct.
               29th day of January, 2019.
Executed this _____


                                                     DAVID A. FORD




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                            SCHEDULE A

                      SECURITIES TRANSACTIONS

     David Trad IRA-TIAA

            Date                 Amount of
          Acquired             Shares Acquired     Price

         10/24/2017                  16          $425.97
         10/24/2017                  0           $425.96
         10/24/2017                  37          $425.97
         10/24/2017                  3           $425.97
         10/24/2017                  33          $425.97
         10/24/2017                  5           $425.97
         10/24/2017                  34          $425.97
         10/24/2017                  8           $425.97
         10/24/2017                  2           $425.97
         10/24/2017                  8           $425.97
         10/24/2017                  5           $425.97
         10/24/2017                  9           $425.97
         10/24/2017                  12          $425.97
         10/24/2017                  26          $425.97
         10/24/2017                  10          $425.97
         10/24/2017                  51          $425.97
         10/24/2017                  1           $425.97
         10/24/2017                  8           $425.97
         10/24/2017                  1           $425.96
         10/24/2017                  7           $425.97
         10/24/2017                  4           $425.97
         10/24/2017                  1           $425.96
         10/24/2017                  17          $425.97
         10/24/2017                  70          $425.97
         10/24/2017                  1           $425.97
         10/24/2017                  1           $425.97
         10/24/2017                  25          $425.97
         10/24/2017                  25          $425.97
         10/24/2017                  3           $425.97
         10/24/2017                  25          $425.97
         10/24/2017                  5           $425.97
         10/24/2017                  13          $425.97
         10/24/2017                  15          $425.97
         10/24/2017                  25          $425.97
         10/27/2017                 125          $408.90
         10/27/2017                 100          $408.90
         11/02/2017                 250          $420.57
         11/24/2017                  5           $456.08
         11/24/2017                  3           $456.08
         11/24/2017                  68          $456.08
         11/28/2017                  78          $461.13
         11/28/2017                  35          $461.17
         12/01/2017                 213          $426.90
         12/04/2017                  10          $459.22
         12/04/2017                 125          $459.22
         12/04/2017                 125          $459.22
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           Date               Amount of
         Acquired           Shares Acquired        Price

        12/04/2017                28             $459.22
        12/07/2017                18             $454.12
        12/07/2017               525             $454.17
        01/17/2018               201             $525.41
        01/17/2018                50             $525.41
        01/17/2018               180             $525.41
        01/17/2018                25             $525.41
        01/17/2018                2              $525.41
        01/17/2018                25             $525.41
        01/17/2018                50             $525.41
        01/24/2018                16             $508.02
        01/24/2018                50             $508.02
        01/24/2018                25             $508.02
        01/24/2018                25             $508.02
        01/24/2018                50             $508.02
        01/24/2018                4              $508.01
        01/24/2018                25             $508.02
        01/24/2018                4              $508.01
        01/24/2018                25             $508.02
        01/24/2018                25             $508.02
        01/24/2018                99             $508.02
        01/24/2018                20             $508.02
        01/24/2018                4              $508.01
        01/24/2018                4              $508.02
        01/31/2018                25             $472.14
        01/31/2018               225             $472.07
        02/05/2018               500             $284.61

           Date                Amount of
           Sold               Shares Sold          Price

        10/25/2017                25             $397.11
        10/25/2017                25             $397.21
        10/25/2017               450             $397.17
        10/31/2017               100             $423.32
        10/31/2017               125             $423.32
        11/27/2017                50             $456.33
        11/27/2017                25             $456.37
        11/27/2017                25             $456.33
        11/27/2017               225             $456.29
        11/29/2017               113             $451.74
        12/04/2017                25             $443.98
        12/04/2017                25             $443.98
        12/04/2017                25             $443.98
        12/04/2017                25             $444.02
        12/04/2017                25             $443.98
        12/04/2017                25             $443.94
        12/04/2017                25             $443.98
        12/04/2017                25             $444.02
        12/04/2017                25             $443.94
        12/04/2017                25             $443.98
        12/04/2017                25             $443.94
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           Date                Amount of
           Sold               Shares Sold          Price

        12/04/2017                25             $443.94
        12/04/2017                25             $443.94
        12/04/2017                25             $444.02
        12/04/2017                25             $443.94
        12/04/2017                25             $444.02
        12/04/2017                25             $443.94
        12/04/2017                25             $443.98
        12/04/2017                25             $443.94
        12/04/2017                25             $443.98
        01/02/2018                43             $527.85
        01/16/2018               500             $527.98
        01/23/2018               533             $532.42
        01/29/2018                5              $489.17
        01/29/2018                10             $489.17
        01/29/2018                4              $489.09
        01/29/2018                10             $489.09
        01/29/2018                22             $489.09
        01/29/2018                25             $489.09
        01/29/2018               125             $489.09
        01/29/2018                75             $489.17
        01/29/2018                25             $489.17
        01/29/2018                25             $489.17
        01/29/2018                25             $489.17
        01/29/2018                25             $489.09
        02/05/2018               250             $399.97



    David Roth IRA-TIAA

           Date               Amount of
         Acquired           Shares Acquired        Price

        12/04/2017                16             $459.44
        12/04/2017                10             $459.44
        01/17/2018                28             $525.62
        01/24/2018                30             $508.20
        01/24/2018                0              $508.20
        01/31/2018                30             $474.60

           Date                Amount of
           Sold               Shares Sold          Price

        01/16/2018                25             $527.75
        01/23/2018                28             $531.61
        01/29/2018                25             $489.15
        01/29/2018                5              $489.15
        02/05/2018                30             $396.67
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        David Vanguard Brokerage

                  Date                   Amount of
                Acquired               Shares Acquired     Price

               06/30/2017                       3         $327.00
               10/02/2017                       2         $379.76
               10/20/2017                       2         $432.92
               01/17/2018                       2         $528.64

                  Date                       Amount of
                  Sold                      Shares Sold    Price

               09/20/2017                       3         $347.16
               10/19/2017                       2         $404.00
               01/16/2018                       2         $520.04
               01/30/2018                       2         $463.44



David and Rachel Joint Vanguard Brokerage

                  Date                   Amount of
                Acquired               Shares Acquired     Price

               08/22/2017                       33        $304.04
               09/18/2017                       12        $348.68
               09/26/2017                       30        $359.36
               10/05/2017                       29        $392.80
               11/02/2017                       30        $424.00
               12/13/2017                       20        $493.20
               01/17/2018                       20        $527.80
               01/25/2018                       21        $522.16
               01/31/2018                       21        $472.40

                  Date                       Amount of
                  Sold                      Shares Sold    Price

               09/11/2017                       33        $320.16
               09/20/2017                       12        $353.12
               10/04/2017                       30        $382.84
               10/19/2017                       29        $407.36
               11/07/2017                       30        $427.20
               01/16/2018                       20        $528.00
               01/23/2018                       20        $532.00
               01/29/2018                       21        $498.88
               02/05/2018                       21        $400.00
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Rachel and David Joint Vanguard Brokerage

                  Date                   Amount of
                Acquired               Shares Acquired     Price

               12/01/2017                       28        $429.28
               12/08/2017                       22        $466.84
               01/17/2018                       23        $526.00
               01/25/2018                       24        $522.16

                  Date                       Amount of
                  Sold                      Shares Sold    Price

               12/04/2017                       28        $448.00
               01/16/2018                       22        $528.00
               01/18/2018                       23        $513.96
               01/29/2018                       24        $498.56



         David and Carol Joint Vanguard Brokerage

                  Date                   Amount of
                Acquired               Shares Acquired     Price

               05/17/2017                       52        $290.00
               05/18/2017                       50        $268.90
               05/26/2017                       50        $306.60
               06/07/2017                       98        $307.50
               06/09/2017                       25        $320.16
               06/13/2017                       50        $314.00
               06/28/2017                       95        $331.00
               07/19/2017                       45        $358.00
               08/10/2017                       69        $314.92
               08/14/2017                       15        $308.60
               08/17/2017                       75        $313.56
               08/17/2017                       10        $312.00
               09/15/2017                       38        $343.40
               09/26/2017                       73        $359.20
               10/05/2017                       71        $392.64
               10/20/2017                       48        $432.64
               12/01/2017                       38        $432.48
               12/08/2017                       38        $467.52
               01/17/2018                       39        $525.40

                  Date                       Amount of
                  Sold                      Shares Sold    Price

               05/23/2017                      102        $295.62
               06/05/2017                       50        $313.86
               06/08/2017                       50        $310.08
               06/12/2017                       28        $302.94
               06/26/2017                       95        $333.98
               07/13/2017                       95        $332.42
               07/27/2017                       45        $364.96
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           Date                      Amount of
           Sold                     Shares Sold      Price

        08/15/2017                      84          $318.84
        09/11/2017                      85          $320.40
        09/20/2017                      38          $351.84
        10/04/2017                      73          $382.36
        10/11/2017                      21          $400.00
        10/19/2017                      50          $407.32
        10/25/2017                      48          $398.92
        12/04/2017                      38          $448.00
        01/16/2018                      38          $528.00
        01/18/2018                      39          $515.16



   David SEP Vanguard Brokerage

           Date                     Amount of
         Acquired                 Shares Acquired    Price

        05/17/2017                      34          $290.00
        05/18/2017                      75          $263.44
        05/19/2017                      50          $287.00
        05/26/2017                     100          $307.00
        06/07/2017                     150          $307.60
        06/09/2017                      50          $306.00
        06/09/2017                      50          $320.64
        06/28/2017                      50          $329.00
        06/28/2017                      50          $330.00
        07/07/2017                     143          $308.00
        07/17/2017                     100          $347.64
        07/31/2017                      94          $360.00
        08/10/2017                      75          $310.04
        08/10/2017                      75          $306.60
        08/11/2017                      65          $298.84
        08/17/2017                      88          $316.00
        08/17/2017                      83          $312.00
        08/17/2017                      50          $314.00
        09/15/2017                      44          $343.48
        09/18/2017                      75          $348.68
        09/26/2017                      75          $358.40
        10/02/2017                      55          $382.48
        10/05/2017                      66          $392.52
        10/20/2017                     183          $432.40
        10/27/2017                     100          $413.00
        11/02/2017                     100          $423.96
        11/28/2017                     110          $460.16
        12/01/2017                     113          $428.56
        12/07/2017                     115          $452.80
        01/17/2018                     138          $525.40
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           Date                     Amount of
           Sold                    Shares Sold     Price

        05/15/2017                     32        $313.46
        05/23/2017                    159        $295.52
        06/05/2017                    100        $313.98
        06/08/2017                    150        $312.48
        06/26/2017                    100        $333.98
        07/06/2017                    100        $312.00
        07/13/2017                    143        $332.56
        07/27/2017                    100        $362.32
        08/09/2017                     94        $346.20
        08/15/2017                    215        $318.84
        09/12/2017                    220        $328.16
        09/20/2017                     44        $351.84
        09/22/2017                     75        $353.60
        10/19/2017                    196        $404.00
        10/25/2017                    183        $399.28
        10/30/2017                    100        $420.00
        11/27/2017                    100        $452.04
        11/29/2017                    110        $451.36
        12/04/2017                    113        $448.00
        01/16/2018                    115        $528.00
        01/23/2018                    138        $531.68



   David Roth Vanguard Brokerage

           Date                  Amount of
         Acquired              Shares Acquired     Price

        05/17/2017                     70        $289.62
        05/19/2017                     63        $283.00
        05/26/2017                    100        $307.00
        06/07/2017                    145        $307.60
        06/09/2017                     50        $308.00
        06/09/2017                     60        $320.22
        06/12/2017                     50        $302.00
        06/27/2017                     75        $326.00
        06/28/2017                    125        $330.00
        06/30/2017                     20        $327.00
        07/17/2017                    210        $347.56
        07/31/2017                    100        $365.00
        08/10/2017                     75        $306.00
        08/10/2017                     75        $309.00
        08/11/2017                     88        $299.24
        08/17/2017                    100        $315.84
        08/17/2017                     45        $304.00
        08/17/2017                     50        $307.92
        08/17/2017                     50        $314.00
        09/15/2017                    125        $343.48
        09/18/2017                    115        $348.68
        09/22/2017                    243        $352.00
        10/20/2017                    226        $432.24
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           Date               Amount of
         Acquired           Shares Acquired        Price

        10/27/2017                63             $412.80
        11/02/2017               125             $420.56
        11/28/2017               123             $460.52
        12/01/2017               125             $427.88
        12/07/2017               128             $452.80
        12/14/2017                30             $494.40
        01/17/2018               170             $525.40
        01/24/2018                75             $508.00
        01/31/2018               125             $472.68

           Date                Amount of
           Sold               Shares Sold          Price

        05/16/2017                50             $315.70
        05/18/2017                50             $267.82
        05/23/2017                83             $295.52
        06/05/2017               100             $313.86
        06/08/2017               145             $312.46
        06/26/2017               160             $334.50
        07/13/2017               220             $332.26
        07/27/2017               210             $362.08
        08/09/2017               100             $344.60
        08/15/2017               238             $318.88
        09/13/2017               120             $336.00
        09/14/2017               125             $339.20
        09/20/2017               240             $353.12
        10/19/2017               243             $404.00
        10/25/2017               226             $397.84
        10/30/2017                63             $423.88
        11/27/2017               125             $452.00
        11/29/2017               123             $451.96
        12/04/2017               125             $448.00
        01/16/2018               158             $528.00
        01/23/2018               170             $531.68
        01/29/2018                75             $492.00
        02/05/2018               125             $400.00
